

Carrasquillo v New York City Tr. Auth. (2023 NY Slip Op 05033)





Carrasquillo v New York City Tr. Auth.


2023 NY Slip Op 05033


Decided on October 05, 2023


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: October 05, 2023

Before: Manzanet-Daniels, J.P., Singh, Gesmer, Rodriguez, Rosado, JJ. 


Index No. 25579/14E Appeal No. 708 Case No. 2023-01021 

[*1]Angelo Carrasquillo, Plaintiff-Respondent,
vNew York City Transit Authority, Defendant-Appellant, City Of New York, Defendant-Respondent.


Anna J. Erovolina, MTA Law Department, Brooklyn (Timothy J. O'Shaughnessy of counsel), for appellant.
Zlotolow &amp; Associates, P.C., Melville (Jason S. Firestein of counsel), for Angelo Carrasquillo, respondent.
Sylvia O. Hinds-Radix, Corporation Counsel, New York (Lauren L. O'Brien of counsel), for The City of New York, respondent.



Order, Supreme Court, Bronx County (Michael J. Danziger, J.), entered January 12, 2023, which denied the motion of defendant New York City Transit Authority (NYCTA) for summary judgment dismissing the complaint and all cross-claims as against it, unanimously reversed, on the law, without costs, and the motion granted. The Clerk is directed to enter judgment accordingly.
The area of plaintiff's fall was neither leased by NYCTA nor did it fall within an area that served primarily for ingress and egress to its nearby subway station (see Pantazis v City of New York, 211 AD2d 427 [1st Dept 1995]; compare Bingham v New York City Tr. Auth., 8 NY3d 176, 181 [2007]). In addition, there is no evidence that it gratuitously cleared the area, and if it did, that it created or heightened an alleged hazardous condition (see Santiago v New York City Hous. Auth., 150 AD3d 545 [1st Dept 2017]; Rivas v New York City Hous. Auth., 140 AD3d 580, 581 [1st Dept 2016]).THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: October 5, 2023








